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                                                            December 9, 2022

Re:    In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-03010 (PKC);
       State of Texas, et al. v. Google LLC, No. 1:21-cv-06841 (PKC)
Dear Judge Castel:
        On behalf of Defendant Google LLC (“Google”), and pursuant to Pretrial Order No. 4 ¶ 4
(ECF No. 392), we write to report that, after meeting and conferring, Google and State Plaintiffs
have reached agreement on a stipulation concerning the effect on State Plaintiffs’ state law claims
of the Court’s Opinion and Order of September 13, 2022. The agreed stipulation is attached hereto
as Exhibit A. Pursuant to Your Honor’s Individual Practices, we note that a Case Management
Conference is scheduled for February 15, 2023. See Pretrial Order No. 5 ¶ 13 (ECF No. 394).
                                                            Respectfully submitted,

                                                            /s/ Eric Mahr
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CC: All Counsel of Record (via ECF)
